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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


MEGAN RUNNION, a Minor,
Through her Mother and Next
Friend, EDIE RUNNION,                              Case No. 12 C 6066

                       Plaintiff,
                                              Hon. Harry D. Leinenweber
            v.

GIRL SCOUTS OF GREATER CHICAGO
AND NORTHWEST INDIANA,

                       Defendant.


                                    ORDER
     The evidence shows that Defendant did not receive federal
funds “as a whole.”        Therefore, Plaintiff cannot state a claim
against Defendant under § 504 of the Rehabilitation Act.                         The
Motion to Dismiss [ECF No. 41] is granted, and the case is
dismissed with prejudice.
                                STATEMENT
     Plaintiff Megan Runnion, a hearing-impaired teenager, alleges
that Defendant Girl Scouts of Greater Chicago and Northwest Indiana
violated § 504 of the Rehabilitation Act of 1973 by failing to
provide her with sign language interpreter services.               The parties
are engaged in a protracted dispute over whether Defendant is a
federally-funded entity such that it is bound by § 504.
     As the Court explained previously, Plaintiff can state a claim
under § 504 only if the relevant program from which she was
excluded    receives    federal     financial     assistance.        29   U.S.C.
§ 794(a).    On October 26, 2012, this Court dismissed Plaintiff’s
claims for several reasons, including that Plaintiff failed to
allege sufficiently that Defendant receives federal funding “as a
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whole”; the dismissal was with prejudice because amendment was
considered futile.       29 U.S.C. § 794(b)(3)(A); ECF No. 29 at 9.
Five months later, however, on the basis of new evidence, the Court
granted Plaintiff’s Motion to Reconsider and granted Plaintiff
leave to replead and supplement the allegation that Defendant
receives federal financial assistance “as a whole.”                  ECF No. 38 at
8. The Court instructed the parties to undertake limited discovery
to determine “whether Defendant is a private organization receiving
federal financial assistance ‘as a whole.’”                 ECF No. 38 at 7.
     The    parties     have    provided     the    Court    with     evidence   of
Defendant’s    finances.         The     relevant    time    period     begins   in
August 2011, because that is when the alleged discriminatory
conduct commenced.           ECF No. 39 ¶¶ 34-35.             According to the
declaration    of     Jill     Hudson,     Defendant’s      Vice    President    for
Corporate, Foundation, and Government Relations, Defendant has
never received any money from a federal agency directly; all
federal funding has been received through either the Girl Scouts of
the United States of America (“GSUSA”) or a local government
agency.    ECF No. 42-2.       During the 2011 Fiscal Year, which ran from
October 1, 2010 to September 30, 2011, Defendant received indirect
federal funding for specific programs; none of the federal money
was for Defendant’s general operations.               ECF No. 42-2 ¶ 4.          The
money that Defendant did receive paid for specific programs, such
as “Beyond Bars,” “Design & Discovery,” and “Girls in Space.”                    Id.
The story was the same for fiscal year 2012, when the federal
financial assistance went to several specific programs, and not to
Defendant’s general operations.             Id. at ¶ 5.       Defendant has not
received any federal funding since September 2012.                   Id. at ¶ 2.
     Plaintiff does not allege that she participated in any of the
programs for which federal money was designated.                     As discussed
above, the only issue is whether Defendant received federal funds
“as a whole.”       Previously, this Court defined the phrase “as a


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whole” with help from a senate report from the Civil Rights
Restoration Act of 1987, which modified the contours of federal
financial assistance.       ECF No. 29 at 8.        The Court explained that
“as a whole” refers to “situations where the corporation receives
general    assistance    that    is    not     designated   for    a   particular
purpose.”    Id.   Thus, if a private company’s use of federal funds
is confined to a specific and limited purpose, the funding is not
provided to the company “as a whole.”                Guidance from appellate
courts is limited, but district courts appear to agree with this
understanding of “as a whole.”               See, e.g., Boswell v. SkyWest
Airlines, Inc., 217 F.Supp.2d 1212, 1216 (D. Utah 2002); Doe v.
Salvation Army, No. 05-CV-901, 2010 WL 4939628, at *7-9 (S.D. Ohio
November 30, 2010), rev’d on other grounds, 685 F.3d 564 (6th Cir.
2012).
     Plaintiff     argues    that     federal    money   infused       Defendant’s
programs.    It is true that Defendant used federal money to pay
portions of some of its employees’ salaries.                Federal money also
paid for some equipment and materials.            But the evidence indicates
that those expenditures supported only the specific programs for
which the money was designated.              For the Girls in Space program,
Defendant received the federal grant money only after Defendant had
spent its own money and proved through payment vouchers, payroll
records, and receipts that it had spent the money on Girls in Space
only.    ECF No. 50-2 ¶¶ 4-6.         Defendant kept program supplies in a
storage locker at the program site so that the supplies could not
be used for any other program.          ECF No. 50-2 ¶ 6.         Given that the
grant money does not even cover the entire cost of the program,
ECF No. 50-1 at 59:6-13, it is especially unlikely that Defendant
would use federal funds for a purpose other than the designated
program.
     Plaintiff has not submitted any evidence that Defendant’s
other programs followed less stringent procedures with their use of

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federal money.      And there is no evidence to support Plaintiff’s
contention that federal money infused Defendant’s finances or
infiltrated any general accounts.            The evidence shows that while
Defendant    did   receive    federal     money    for   specific     programs,
Defendant did not receive federal funds for general assistance and
did not use its limited-purpose funds for any unrelated expenses.
Therefore, Defendant did not receive federal funds “as a whole.”
Because Plaintiff cannot state a claim against Defendant under
§ 504 of the Rehabilitation Act, the Motion to Dismiss [ECF No. 41]
is granted.    The case is dismissed with prejudice.




Dated:3/7/2014
                                             Harry D. Leinenweber, Judge
                                             United States District Court




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